Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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Case 2:18-bk-50300   Doc 20-1 Filed 03/02/18 Entered 03/02/18 13:23:59   Desc
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